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 1   TASHA PARIS CHALFANT, SBN 207055
     Attorney at Law
 2
     5701 Lonetree Blvd., Suite 312
 3   Rocklin, California 95765
     Telephone: (916) 444-6100
 4
     Fax:          (916) 930-6093
 5   E-Mail:       tashachalfant@gmail.com
 6   Attorney for Defendant
 7   RAUL BARAJAS
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        2:18-CR-0009 TLN
12                              Plaintiff,           STIPULATION AND ORDER TO
13                                                   MODIFY CONDITIONS OF
                    v.                               PRETRIAL RELEASE
14
15   RAUL BARAJAS,
16                             Defendant.
17
18
             In February 2018, Mr. BARAJAS was released on conditions and has been
19
     supervised by the Pretrial Services Agency. After consultation with Assistant United
20
     States Attorney Justin Lee and Pretrial Services Officer Darryl Walker, the defense
21
     requests and the government does not oppose, that Mr. BARAJAS’s conditions of pretrial
22
     release be modified as follows.
23
             DELETE the Third Party Custody condition (#15 of the Amended Special
24
     Conditions of Release, Dkt. 81).
25
             All other conditions remain in full force and effect.
26
     \\\\\
27
     \\\\\
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             Case 2:18-cr-00009-TLN Document 116 Filed 02/25/20 Page 2 of 2


 1                                            Respectfully submitted,
 2
 3   Dated: February 25, 2020                 /s/Tasha Paris Chalfant
                                              TASHA PARIS CHALFANT
 4
                                              Attorney for Defendant
 5                                            RAUL BARAJAS
 6
     Dated: February 25, 2020                 /s/ Tasha Paris Chalfant for
 7                                            JUSTIN LEE
                                              Assistant United States Attorney
 8                                            Counsel for Plaintiff
 9
10
11
12
13                                     ORDER
14         IT IS SO ORDERED.
15
16   Dated: February 25, 2020
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